                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

ANTONIO HERRERA,                                       )
                                                       )
               Petitioner,                             )
                                                       )
v.                                                     )       Nos.    2:10-CR-110-RLJ-2
                                                       )               2:16-CV-190-RLJ
UNITED STATES OF AMERICA,                              )
                                                       )
               Respondent.                             )


                                  MEMORANDUM OPINION

       Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 [Doc. 1227]. He bases his request for collateral relief on Johnson v.

United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause of

the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e), was unconstitutionally vague [Id.].

The United States responded in opposition to collateral relief on July 29, 2016 [Doc. 1241]. For

the reasons below, the petition will be DENIED and DISMISSED WITH PREJUDICE.

I.     BACKGROUND

       In 2011, Petitioner pled guilty, pursuant to a written plea agreement, to conspiring to

distribute and possess with intent to distribute at least five kilograms of cocaine, in violation of 21

U.S.C. §§ 846 and 841(a)(1), (b)(1)(A); and possessing a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(c) [Presentence Investigation Report (PSR) ¶¶

2–3, 9–35]. The Court sentenced Petitioner to an aggregate term of 211 months’ imprisonment:

151 months for the drug offense, at the bottom of the applicable Guideline range, followed by the

consecutive statutory mandatory minimum of 60 months for the firearms offense [Doc. 832].

Consistent with the appeal-waiver provision in his plea agreement, Petitioner did not appeal.




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II.    STANDARD OF REVIEW

       To obtain relief under 28 U.S.C. § 2255, Petitioner must demonstrate “(1) an error of

constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of fact

or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United States, 471

F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir.

2003)). He “must clear a significantly higher hurdle than would exist on direct appeal” and

establish a “fundamental defect in the proceedings which necessarily results in a complete

miscarriage of justice or an egregious error violative of due process.” Fair v. United States, 157

F.3d 427, 430 (6th Cir. 1998).

III.   ANALYSIS

       Petitioner argues that the Johnson decision invalidated the residual clause in §

924(c)(3)(B)’s definition of crime of violence and that the absence of that provision requires

vacatur of his conviction under § 924(c)(1)(A) [Doc. 1227 (“Since 18 U.S.C. § 1203 is not

categorically a crime of violence, the § 924(c)(1)(A)(i) enhancement is invalid in this [c]ase.”)].

The argument fails for three reasons.

       First, the crime that Petitioner possessed a firearm in furtherance of for purposes of § 924(c)

was conspiracy to distribute at least five kilograms of cocaine, not a violation of the statute which

he argues is no longer a crime of violence—18 U.S.C. § 1203.

       Second, binding Sixth Circuit precedent holds that while Johnson invalidated the residual

provision of the ACCA, § 924(c)(3)(B)’s definition of crime of violence remains unaffected. 1 See



1
        The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a firearm
after having sustained three prior convictions “for a violent felony or a serious drug offense, or
both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The statute
defines “violent felony” as “any crime punishable by imprisonment for a term exceeding one
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United States v. Taylor, 814 F.3d 340, 376–79 (6th Cir. 2016) (recognizing at least four “significant

differences” between the residual clause in § 924(c)(3)(B) and the ACCA’s residual clause and

noting “the argument that Johnson effectively invalidated [the former] is . . . without merit”).

       Third, even if Johnson’s reasoning could be used to invalidate § 924(c)(3)(B)’s residual

clause, Petitioner’s conviction under § 924(c)(1)(A) did not rely on that provision. To the contrary,

Petitioner was convicted of possessing a firearm in furtherance of a drug trafficking crime, not

crime of violence [Doc. 832].       The statute defines “drug trafficking crime” as “any felony

punishable under the Controlled Substances Act, 21 U.S.C. §§ 801, et seq., [or] the Controlled

Substances Import and Export Act, 21 U.S.C. §§ 951, et seq.” 18 U.S.C. § 924(c)(2). The Johnson

decision has no bearing whatsoever on the scope of that definition. Accord United States v.

Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015) (deeming Johnson irrelevant to drug offenses).

As such, Petitioner has failed identify a viable basis for vacating his § 924(c) conviction.




year” that (1) “has as an element the use, attempted use, or threatened use of physical force against
the person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or extortion,
involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise involves
conduct that presents a serious potential risk of physical injury to another” (the “residual clause”).
18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the Supreme Court
deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
drug trafficking crime . . . for which the person may be prosecuted in a court of the United States,
[to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C. §
924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that “has
as an element the use, attempted use, or threatened use of physical force against the person or
property of another” (use-of-physical-force clause); or “by its nature, involves a substantial risk
that physical force against the person or property of another may be used in the course of
committing the offense” (“residual clause”).

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IV.    CONCLUSION

       For the reasons discussed, Petitioner’s § 2255 motion [Doc. 1227] will be DENIED and

DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

would not be taken in good faith and would be totally frivolous. Therefore, this Court will DENY

Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of

Appellate Procedure. Petitioner having failed to make a substantial showing of the denial of a

constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule

22(b) of the Federal Rules of Appellate Procedure.



              IT IS SO ORDERED.

                                                           ENTER:



                                                                  s/ Leon Jordan
                                                            United States District Judge




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